Case 1:15-cv-04614-AMD-SJB Document 44 Filed 06/26/17 Page 1 of 1 PageID #: 277




 June 26,2017                                                               filed
                                                                            ClrnH
 419 Aderhold Rd                                                                 ^
 Saxonburg,PA 16056                                                              PH 3:
                                                                     FaSM'^ICT rn.<or
 Han. A.M. Donnelly                                                              MCT
 United States District Judge
 US District Court Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


 Dear Hon. A.M. Donnelly, US District Judge,


 I would like to withdraw my request for an Interlocutory Appeal that was made
 on June 22, 2017.

 The Request was made in error, therefore I request that it be withdrawn.



 Sincerely,




 Sandra Simpson
 Litigant Pro Se
 Simpsonfuture@email.com



 Courtesy copy mailed to:


 Ms. Loma Goodman,551 Madiason Ave,1^ Floor, New York, NY 10022
